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 1
                                    UNITED STATES DISTRICT COURT
 2                                                     for the
 3                                       Western District of Wisconsin
                                                  Civil Division
 4

 5
     MICHELLE R GILBANK, et al.,                           Case No.: 20-CV-601-JDP
 6
                      Plaintiffs,
 7
     vs.                                                   PLAINTIFF’S STATEMENT OF PROPOSED
 8                                                         FINDINGS OF FACT #2
     WOOD COUNTY DHS, et al.,
 9
                      Defendants.
10

11

12

13            Plaintiff hereby submits this Proposed Findings of Fact, together with references to

14   supporting evidence in response to Wood County defendants’ Motion for Summary Judgement

15   against plaintiff.

16            The name of the minor child of Plaintiff is abbreviated throughout this document using

17   the first letters of the minor’s first name, middle name, and last name (“T.E.H.”).

18

19            1.      Wood County Defendants Theresa Heinzen-Janz, Mary Christensen, and Anne La

20         Chapelle relied on CPServices Access & Initial Assessment Standards in evaluating the

21         safety of T.E.H. (Dkt. 114-07, p. 3, ¶ 3)

22

23

24   PLAINTIFF’S STATEMENT OF PROPOSED FINDINGS OF FACT #2 - 1
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 1         2.       The CPS Access and Initial Assessment Standards requires that thorough

 2      information be gathered in the following areas:

 3              •   Maltreatment including alleged maltreatment, and any other type of maltreatment

 4                  occurring within the family.

 5              •   Surrounding Circumstances including circumstances leading up to maltreatment

 6                  and the parent’s/caregiver’s response.

 7              •   Child Functioning including general functioning, disabilities, or special needs of

 8                  all children in the household, effects of any maltreatment, and child

 9                  vulnerabilities.

10              •   Adult Functioning including general functioning, mental, emotional and physical

11                  health, disabilities, and enhanced and diminished Parent/Caregiver Protective

12                  Capacities (see CPS Safety Intervention Standards, Appendix 8: Parent/Caregiver

13                  Protective Capacities).

14              •   Parenting Practices including general parenting practices, discipline practices, and
15                  enhanced and diminished parent/caregiver protective capacities.
16              •   Family Functioning including strengths and current stresses.
17              (dkt.114-1, p.89)
18

19      3. On 07/03/2018, Defendants Heinzen-Janz and Iverson were made aware that Ian Hoyle’s
20         visitation with T.E.H. was required to be supervised. “He gets 4 hours of supervised
21         visits at PDC once per week.” (Dkt. 114-1, p.2)
22

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 1      4. On 07/03/2018, Defendants Heinzen-Janz and Iverson were made aware that Ian Hoyle’s

 2         counseling was due to anger management issues. “Ian is currently undergoing counseling

 3         for himself for anger management, and it is partly due to plaintiff’s behavior.” (Dkt.60-6,

 4         p.5, ¶ 3) “Ian is currently undergoing counseling for himself for anger management.”

 5         (Dkt. 107-01, p. 18, ¶ 3)

 6

 7      5. On 07/03/2018, Ian Hoyle “expressed that he never sees <plaintiff> sleep, but he has

 8         never seen her use either” to defendants Heinzen-Janz and Iverson.

 9         (Dkt. 107-1, p.18, ¶ 6)

10

11      6. On 07/03/2018, Defendants Heinzen-Janz and Iverson were made aware that Ian Hoyle

12         “abused alcohol and likes downers”. (Dkt. 107-01, p.18, ¶ 7 )

13

14      7. On 07/11/2018, Defendant Heinzen-Janz was made aware of further domestic violence

15         by Ian Hoyle towards plaintiff and T.E.H., and that Ian Hoyle and plaintiff “fight

16         constantly out in the open because he doesn’t let her <or T.E.H.> into the apartment

17         when he is home.” (Dkt. 107-1, p.52, ¶ 1, line 8)

18

19      8. Wisconsin CPS Access and Initial Assessment Standards, Appendix 3, instructs CPS

20         workers of the following:

21         Absent a direct allegation of abuse or neglect to a child, a report of children exposed to

22         domestic violence should be screened-in as a CPS report according to the following

23         criteria:

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 1         • A report is made in which there is reasonable cause to suspect there is current domestic

 2         violence or the abuser has a history of domestic violence, and

 3         o there is reason to suspect the child is intervening or will intervene, placing him or her at

 4         risk of injury, or

 5         o the child is likely to be injured during the violence (e.g., being held during the violence,

 6         physically restrained from leaving), or

 7         o the alleged perpetrator does not allow the protective parent and child access to basic

 8         needs impacting their health or safety

 9          (dkt.111-1, p.98, ¶ 2)

10

11      9. Ian Hoyle has a history of domestic violence. 11/06/97 – Arrest, Battery; 01/30/97 –

12         Arrest, Domestic Abuse Counseling ordered; 10/24/96 – Arrest, Domestic Abuse ;

13         10/23/96 – Arrest, Batterer’s Group ordered. Ian Hoyle also has a history of sexual

14         assault of a child, drug use, criminal trespass, burglary, DUIs, violating probation, and

15         failure to register as a sex-offender. (Dkt. 60-7, p. 2-4)

16

17      10. On 07/26/2018, Defendants Heinzen-Janz and Iverson were made aware of further

18         domestic violence by Ian Hoyle towards plaintiff and T.E.H. Defendant Heinzen-Janz

19         states in her report that “This worker, Social Worker Taylor Young, and defendant

20         Iverson conducted an unannounced home visit.” She leaves out entirely that the cause of

21         the visit was Ian Hoyle placing a phone call to defendant Iverson’s personal cell phone in

22         a fury because plaintiff confronted him about his lying and abuse. (Dkt. 114-2, p.4)

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24   PLAINTIFF’S STATEMENT OF PROPOSED FINDINGS OF FACT #2 - 4
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 1      11. Wisconsin CPS Access and Initial Assessment Standards, Appendix 3, instructs CPS

 2         workers of the following:

 3             •   The abuser may not be a reliable source of information about his violent behavior

 4                 or his use of power and control tactics. Better sources of information include the

 5                 adult and child victims, police reports, medical reports, and collateral contacts.

 6             •   Be aware that perpetrators of domestic abuse often appear very believable and

 7                 controlled, especially during initial interviews. An abuser may also present

 8                 himself as a victim of domestic abuse.

 9             •   Interview the domestic abuser in a way that encourages disclosure of abusive

10                 conduct. Domestic abusers routinely deny, minimize, or blame the victim for their

11                 violent behaviors. Ask specific questions about behaviors, as a perpetrator may

12                 not think of their actions as violent or abusive. For example, he may believe that

13                 "violence" refers to a serious injury requiring medical attention, whereas pushing,

14                 slapping or hitting is simply "arguing" or "disagreeing".

15             •   If an alleged maltreater denies domestic abuse, do not try to force disclosure, but

16                 move on to other subjects. Angry confrontations with domestic abuse perpetrators

17                 can result in retaliation against the child or adult victim. You do not need the

18                 perpetrator's disclosure to confirm that domestic abuse has occurred. Such

19                 confirmation comes from adult and child victim statements, CPS professional

20                 observations and other agency reports.

21             (Dkt.114-01, p.103, ¶ 1-4)

22

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 1      12. On 07/03/2018, at the exact same time that plaintiff was waiting patiently for defendant

 2         Heinzen-Janz to appear for her scheduled appointment to assist plaintiff in finding safe

 3         housing and leaving Ian Hoyle, Ian Hoyle contacted defendant Iverson to arrange a

 4         meeting in which he could gaslight, scapegoat, and slander plaintiff. Defendant Iverson

 5         agreed to meet with him immediately. Defendant Heinzen-Janz did not call or show up

 6         to her appointment with plaintiff for resources, but instead went with defendant Iverson

 7         to speak with Ian Hoyle. (Dkt. 60-06, p. 5-7)

 8

 9      13. On 08/21/2018, during plaintiff’s interrogation, plaintiff says that all she wants is to be on

10         a regulated prescription. Defendant Iverson responds, “And that sucks…”

11         (Dkt. 60-09 @ 13:30:23)

12

13      14. On 08/21/2018, during plaintiff’s interrogation, defendant Iverson states, “Now I don’t

14         think <T.E.H.> would be better off with <Ian Hoyle>. I don’t think that at all. I think

15         she’d be better off with her mom.” (Dkt. 60-09 @ 13:)

16

17      15. On 08/21/2018, during plaintiff’s interrogation, defendant Iverson reads plaintiff her

18         Miranda Rights, including her right to have an attorney present during questioning, or to

19         rewquest one at any time during questioning.

20         (Dkt. 60-09 @ 13:33:00)

21

22      16. On 08/21/2018, during plaintiff’s interrogation, defendant Iverson states, “you do really

23         well with Tesla from what I’ve seen, and she shows it. I mean, she clings right to you.”

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 1         (Dkt. 60-09 @ 13:44:50)

 2

 3      17. On 08/21/2018, after attending the plaintiff’s interrogation, defendant Heinzen-Janz

 4         completed a petition for protection or services. “Based on Michelle’s lack of cooperation

 5         present danger threats were identified in that the parent overtly rejects intervention and

 6         the parent is intoxicated now or is consistently under the influence, therefor, the

 7         department took temporary physical custody and placed her in the care of her father.”

 8         (Dkt. 82-08, p. 2, ¶ 7)

 9

10

11   Thank you.

12

13      Dated at Marshfield, Wisconsin, this 16th day of September, 2021.

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15

16                                                                    Michelle R. Gilbank
17                                                                        Michelle R. Gilbank, pro se

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24   PLAINTIFF’S STATEMENT OF PROPOSED FINDINGS OF FACT #2 - 7
